              Case 1:20-cr-00093-JLT-SKO Document 84 Filed 08/07/20 Page 1 of 3


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6    Attorney for Defendant JOSE BALDEMAR AVALOS-CASTRO
7

8                               UNITED STATES DISTRICT COURT
9                              EASTERN DISTRICT OF CALIFORNIA
10

11

12   THE PEOPLE OF THE STATE OF                      )    Case No. 1:20-CR-00093-NONE-SKO
     CALIFORNIA,                                     )
13                                                   )    STIPULATION AND ORDER TO
                                                     )    MODIFY PRE-TRIAL RELEASE
                              Plaintiff,             )
14                                                        CONDITIONS
                     v.                              )
15                                                   )
     JOSE BALDEMAR AVALOS-CASTRO,                    )
16                                                   )
                              Defendant.             )
17                                                   )
                                                     )
18                                                   )

19            IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States of
20   America, and defendant JOSE BALDEMAR AVALOS-CASTRO, through their respective
21
     attorneys, that the pretrial release condition imposed on Mr. Avalos-Castro on July 17, 2020,
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     may be modified as set forth below.
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24
              Mr. Avalos-Castro was the victim of an assault while held at the Fresno County Jail. He

25   has difficulty sleeping as a result of the attack. It is believed that Mr. Avalos-Castro would
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     benefit from participating in mental health counseling.
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              Accordingly, the parties and Pretrial Services agree that the following condition may be
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     added:
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            Case 1:20-cr-00093-JLT-SKO Document 84 Filed 08/07/20 Page 2 of 3


1           You must participate in a program of medical or psychiatric treatment as approved by
2
     the pretrial services officer. You must pay all or part of the costs of the counseling services
3
     based upon your ability to pay, as determined by the pretrial services officer.
4

5
            All other conditions shall remain in force.

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7           Dated: August 6, 2020

8                                                  /s/ Emily Takao
                                                   _______________________
9
                                                   EMILY TAKAO
10                                                 Attorney for JOSE AVALOS-CASTRO

11          Dated: August 6, 2020                  McGREGOR W. SCOTT
                                                   United States Attorney
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13                                                 /s/ Katherine Schuh
                                                   _______________________
14                                                 KATHERINE SCHUH
15
                                                   Assistant U.S. Attorney
                                                   Attorney for Plaintiff
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            Case 1:20-cr-00093-JLT-SKO Document 84 Filed 08/07/20 Page 3 of 3


1                                                     ORDER
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            The release conditions previously imposed on Mr. Avalos-Castro are modified by
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     adding the following condition as follows:
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5           You must participate in a program of medical or psychiatric treatment as approved by
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     the pretrial services officer. You must pay all or part of the costs of the counseling services
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     based upon your ability to pay, as determined by the pretrial services officer.
8
            All other conditions shall remain in force.
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11   IT IS SO ORDERED.
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        Dated:     August 7, 2020                              /s/ Barbara A. McAuliffe          _
13
                                                           UNITED STATES MAGISTRATE JUDGE
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